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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 UNITED STATES OF AMERICA,                       §              DOCKET NO.
                                                 §
                      Plaintiff,                 §
                                                 §
        v.                                       §              4:21-CR-00048-ALM-CAN
                                                 §
 SHANLIN JIN,                                    §
                                                 §
                      Defendant.                 §


         DEFENDANT’S CARACTER LETTER FOR SENTENCING HEARING



 MARISSA MILLER                                                 SAPUTO PLLC
 United States Attorney                                         PAUL SAPUTO
                                                                Texas Bar No. 24083792
 COUNSEL FOR PLAINTIFF
                                                                SHAOMING CHENG
                                                                Virginia Bar No. 80218

                                                                COUNSEL FOR DEFENDANT
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 TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW Shanlin Jin, Defendant in the above-styled and numbered cause, hereby

 submits his attached Character Letter from Defendant’s mother in regarding to the sentencing

 hearing scheduled on July 14, 2022 at 9:15 a.m.

                                                           Respectfully submitted,

                                                           SAPUTO PLLC

                                                           /s/ Paul Saputo
                                                           By: Paul Saputo
                                                           Texas Bar No. 24083792
                                                           Email paul@saputo.law
                                                           2828 N. Harwood St. Suite 1950
                                                           Dallas, TX 75201
                                                           Tel. (888) 239-9305
                                                           Fax (888) 236-2516

                                                           /s/ Shaoming Cheng
                                                           By: Shaoming Cheng
                                                           Cheng Yun Law PLLC
                                                           6088 Franconia Road
                                                           Suite D
                                                           Alexandria, VA 22310
                                                           Telephone: (703)887-6786
                                                           Fax: (888) 510-6158
                                                           E-mail: jcheng@chengyunlaw.com
                                                           Pro Hac Vice

                                                           ATTORNEYS FOR DEFENDANT


                                CERTIFICATE OF SERVICE

        THIS IS TO CERTIFY that a copy of the foregoing Defendant’s Character Letter was

 served via email to Marisa Miller at marisa.miller@usdoj.gov.

                                                           /s/ Shaoming Cheng
                                                           By: Shaoming Cheng




                                                                                            2
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               PETITION FOR THE EARLY RETURN OF MR. SHANLIN JIN

 Your honor:


           My name is Lixin He, I am the mother of Mr. Shanlin Jin.I am truly appreciated that you allow

 Attorney Shaoming Cheng to present my petition.

           It was surprisingly shocking and very hard to believe when I was informed that Shanlin Jin has

 violated the criminal law in the U.S. Shanlin is simple, kind and sympathetic. While he was a child, he

 cried over a injured bird; after he grow up, he becomes warm, considerate and helpful. He always

 encourages and comforts his friends and classmates whom suffered from family trauma or other life

 issues.

           However, as an introvert, Shanlin was diagnosed with mild Tourette syndrome and temporary

 symptoms of autism. In collage, he had a tendency to depression due to the break up with his childhood

 sweetheart girlfriend. During the Covid-19 pandemic, Shanlin has to bear the loneliness all by himself, he

 was unable to united with his family in China, especially when he was told that his beloved grandmother,

 whom he has a deep emotional bond with, has been receiving emergency treatments in the hospital and

 was diagnosed with hemiplegia. Shanlin was so worried that he may not be able to see his beloved

 grandmother one last time before something worse could happen, therefore, he told his grandmother's

 situation to the school and asked his teacher's permission for leaving for China to visit his grandmother,

 he was preparing to get back to China at that time. But under the circumstances that he may not be able to

 return to school in the U.S. due to his visa is about to expire and the pandemic is getting worse, Shanlin

 abandoned his trip to China. In the thoughts and worries about his sick grandmother, and the fears and

 anxiety to the pandemic, Shanlin starts to having psychology problems by living under immense pressure.

           Meanwhile, Shanlin has serious health problems. He was born with congenital deficiency. At his

 birth, he got asphyxia and breath weak and irregular with secondary hyperbilirubinemia and purulent


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herpes, and was transferred between different hospitals for medical rescue (Please see Attachment 1). I

have a family history of pulmonary dysfunction, that caused multiple nodules and other lesions to my

 lungs (Please see Attachment 2). Shanlin's grandfather and uncle have suffered from tuberculosis and

other diseases. Shanlin's lung capacity is very small, at the age of 12, in his physical examination, his

 lung capacity was 1538ml(Please see Attachment 3).        The number is much lower than the average

number of lung capacity of males and females of his age (2077ml for females and 2200mlfor males). He

 also suffers from long-term chronic rhinitis.

      In January 2020,Shanlin left China for Dallas, ever since then, his immunity system was impaired

due to the continuous influence of mental pressure, such as loneliness, anxiety and fear. The impaired

 immunity system also caused him frequent colds and severe coughs. He is 6' 3", however, his weight has

 reduced significantly from 170 pounds to 141 pounds. His health is deteriorating day by day. He recently

 got cold again and it has been several weeks. Even though he took the medicines, there was no sign of

 recovery. The symptoms have developed into the pulmonary infection caused pneumothorax tension

 which could be the life-threatening diseases. He was hospitalized for surgery on February 8, 2022 (Please

 see Attachment 4).

      When I was told that my beloved child was hospitalized for serious and severe diseases and those

 diseases could even take his life away from me, I nearly collapsed and my heart was ripped out.I even

 fainted because my long-term headache go so much worse after knowing that my child was taken into the

 hospital.

      I realized that Shanlin Jin's wrongdoings of downloading and obtaining illegal and harmful videos, I

 also encouraged him to plead guilty over the phone calls with him. But, my child has been suffering from

 severe cough for a month and a half with no sign of recovery, not to mention that pneumothorax is a

 severe disease which may leading to rapid death of the human. Especially if the repeated pulmonary

 infection combines with basal diseases, my child is highly likely to have pneumothorax relapse.

         As a mother, I am very worried about my child's physical and psychology health, also his 88-
                                                   - 2-
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year-old sick grandmother and his 82-year-old leg-disabled grandfather all miss Shanlin very much.

Every time they are in the phone call with Shanlin, they wish to see him as soon as possible.

        As Shanlin Jin's family, we are all in the respect of the judgment of this honorable court. However,

after the issuance of the judgement, we do wish that your honor could grant and allow Shanlin Jin to

return to China to receive physical treatment and psychological counseling therapy under the parental

supervision, to save this helpless child from suffering from the internal pain and help this helpless and

exhaustedchild get well soon.

        Shanlin Jin is willing to accept the community-based rectification from the judiciary, public

security organs and community organizations in the area where he lives in China, and he is also willing to

participate in relevant community service activities actively. He will take the responsibility to correct

himself by serving and helping others as well as devoting himself in the above-mentioned community-

based rectification. My family will actively cooperate with the relevant departments to fulfill the

supervising responsibilities.

         Comparing to serving his time in the U.S., receiving physical treatment and psychological

counseling therapy under the parental supervision in China could be a more reasonable way for young

people to tum over a new leaf.

        We truly wish that your honor and this honorable court could consider my proposal as the

 substitution for the punishment of Shanlin Jin.

        I truly appreciated your time and patience!

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                                                                 Petitioner:   Ll       ,11/\.
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                                                                                             '
                                                                               LIXINHE (Signature)

                                                                               February 28, 2022




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List of Attachments

Attachment 1: Inpatient medical records of Shanlin Jin in Beijing Anzhen Hospital, Capital Medical
              University when he was born in 1998, and discharge summary after his transfer to the First
              Hospital of Beijing Medical University.
 Attachment2: Lung diagnosis of Shanlin Jin's mother Lixin He in 2021 physical examination report.

Attachment 3: Health physical examination result feedback form (including lung capacity data and
              evaluation) of Shanlin Jin in Grade 2 (2010, 12 years old), YouthClass 16, Beijing No.8
              Middle School.
Attachment 4: Discharge report after Shanlin Jin's rescue surgery for severe tension pneumothorax in
              2022.




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 Attachment 1:

 Anzhen Hospital Inpatient Medical Records Home Page
 NAME Lixin He             GENDER      female              BIRTH DATE       March 11, 1970               AGE    29         MARITAL STATUS
 married

 Profession N/A        BIRTH PLACE     Hunan            NATION Han               COUNTRY China              ID NUMBER 420111700311405

 COMPANY ADDRESS          N/A                                                                TEL:     N/A              POST CODE N/A

 ACCOUNT ADDRESS         2105, 29th Floor, Zone 1, Anhua Xiii, Chaoyang District, Beijing                      POST CODE 10011

 CONTACT NAME       Yangping Jin      RELATION spouse       ADDRESS      2105, 29th Floor, Zone 1, Anhua Xiii, Chaoyang District, Beijing
 TEL: 64253893                    TEL: 64253893

 Admission date    June 28, 1998                    Discharge date July 4, 1998                      Actual days in hospital   6

 Admission Department: Obstetrics and Gynecology          Ward: Eleven     Transfer time: N/A    Discharge Department: Obstetrics and
 Gynecology
 Outpatient Diagnosis: Maternity, Term Pregnancy, LOA, Omen of Childbirth            Condition on admission: general
 Admission Diagnosis: Maternity, Term Pregnancy, LOA, Omen of Childbirth             Date of confirmation: June 28, 1998




 Hospital Discharge Diagnosis
 Main diagnosis: delayed fetal head descent, cured
 Other diagnosis: persistent occipital transverse position cured, ICD-9 code 660.3

                   maternity, term pregnancy, forceps delivery, ROT-ROA, cured, ICD-9 code 669.S
                  one live male infant Other ICD-9 code 127.0
                  Secondary uterine atony cured, ICD-9 code 661.1
                   Neonatal mild asphyxia cured, ICD-9 code 768.9
                   Neonatal hyperbilirubinemia unhealed, ICD-9 code 774.6




 Nosocomial Infection: N

 External causes of injury and poisoning: N

 Medicine Allergy: N

 Number of rescues: N           Number of successful attempts: N       Number of accompany:2 Accompanying period: N            Autopsy:2

 l.Y 2.N

 Diagnosis compliance:     Outpatient and discharge:      Admission and discharge:      Preoperative and postoperative:     Radiology and
 pathology:

                   Clinic and Pathology        Fill in with numbers:              O.N           1. Compliant           2. Not Compliant
                   3. Uncertain



                   Director::     Hui WANG      Attending physician: Hui WANG Resident Physician: Jia LIN         coder: Wei JIANG
                                                                        - 5 -
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          Summary of Discharge from the First Hospital of
                                    Beijing Medical University
                                                                                  Medical record number: 511989


 Name: Son of Lixin He       Gender: Male     Age: 10 days

 Admission date: July 3, 1998        Discharge date: July 8, 1998      Total hospitalization for 5 days




 Hospital admission summary and preliminary conclusion: Second child, 41 weeks gestation, forceps delivery was performed. Asphyxia
occurred after birth, and the Apgar score was 6 in 1 minute. Pale skin, hypotonia, weak and irregular breathing, red skin after 2-3
 minutes of oxygen inhalation, and Apgar score of 10 at 5 and 10 minutes. On the second day after birth, yellow staining of the face
and sclera gradually aggravated. The day before admission, small yellow pustules were found on the face, trunk and both upper and
 lower limbs, which gradually increased without fever. Physical symptoms: body temperature is 36.7'C, mental response is good,
breathing is stable, no cyanosis around the mouth, severe yellowing of the whole body skin, rice grain-sized papules and pustules can
be seen on the whole body skin. The head circumference is 36cm, and the front is flat and soft. A large number of yellow-white
secretions were seen in both eyes, conjunctiva I hyperemia, and yellow staining of sclera. Cardiopulmonary examination was normal,
and neurological examination was normal.

Preliminary diagnosis: 1. Neonatal hyperbilirubinemia; 2. Neonatal impetigo; 3. Conjunctivitis; 4. Neonatal mild asphyxia.

Diagnosis process and effect: After admission, total blood bilirubin was 331.74 µmol/L, the direct bilirubin was less than 13.68 µmol/L,
white blood cells were 14.0x109/L, leaflet: 53%, Lymph 43%. Brain B-ultrasound showed no abnormality. After admission, electrolytes:
K+: 5.4mmol/L, Na+: 142mmol/L, CL: 111 mmol/L, Ca+: 2.5mmol/L., Glu: 3.8mmol/L. After admission, he was given Ceftriaxone
sodium for injection and chloramphenicol eye drops for eye drops, oral Phenobarbital tablets and Bunzhihuang oral liquid,
phototherapy and other treatments, during which diarrhea was treated with Smecta and Miya. Now the general condition of the child
is good, the body temperature is normal, the milk is good, the stool is yellow and soft, the yellow skin is relieved, the overall mental
response is good, the total bilirubin is 110.30 µmol/L, and the direct bilirubin is 13.68 µmol/L. And conjunctivitis subsided, can be
discharged, outpatient follow-up.




Final Diagnosis: Major Disease: Neonatal Hyperbilirubinemia

Concomitant diseases: neonatal pustules, neonatal conjunctivitis

Suggestion: (precautions after discharge, advice on future treatment and recuperation)

1. Miya 1/3 bag for 7 days

Montmorillonite Powder 1/3 bag 7 days supply

75% alcohol topical paint

2. The child had mild craniomalacia at the top of the head, and was followed up in the outpatient department after discharge.




                       Physician's signature: Xia LI July 8, 1998


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 Attachment 2:
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                                                  HEALTH       EXAMINATION                REPORT




                                                   NAVIE       Lixin HE         GENDER      Female

                                                   AGE           51              DATE      May 11, 2021

                                                   l\i[MBER    02737077          TEL        15910958745

                                                   CMBC China Minsheng Banking Corp Ltd (Trade Union)




                                                                                 7
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                                                                                MEDICAL HEALTH CENTERl HEALTH REPORT

                                                                                                               Examiner:    Zhcn1.i \la



         Request for chest CT scan 1
      Examination findings: bilateral thoracic symmetry, clear bronchovascular bundles in both
      lungs, and slightly thick apical membranes in both lungs. Multiple small calcifications
      were seen in the apical segment of the upper lobe of the right lung and in the lower
      lobes of both lungs. Several tiny nodules with a diameter of about 0. 2-0. ,1 cm were
      seen in the posterior segment of the left upper lobe apex, the lingual segment, and the
      outer basal segment of the right lower lobe; in the outer basal segment of the right
      lower lobe, there were small cords, consolidation shadows, and small clusters. nodules.
      A few cord shadows in the right middle lobe. There were no abnormally enlarged lymph
      nodes in the hilar area and mediastinum on both sides: the trachea and large
      bronchi were unobstructed, there was no pleural effusion, and the heart was not large.


      Diagnosis: Compared with chest CT on 2019-09-10: 1. Lesion in the outer basal segment of the
      right lower lobe, more than before, is it an infectious disease? 2. Multiple tiny nodules
      in both lungs, roughly the same as before, annual re-examination is recommended; 3. Right middle
      lobe cord, calcification in both lungs, roughly the same as before, old lesions are possible;
      4. Bilateral pleura Localized thickening, as before.
                                                                                            DOCTOR:

          Request for head
          CT Scan
       Examination findings: the skull morphology was normal, and there were no obvious abnormal
       density areas and morphological changes in the brain parenchyma. The ventricular system,
       sulci, fissures, and cisterns were normal. The midline structure is centered.


       Diagnosis: There was no obvious
       abnormality in the head CT scan.
                                                                                                                  DOCTOH:




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     Xicllcn.~      District,      Bt" 1 i,iLr1f~


     l'OST CODE.         I 00 50                     NU!BER:   02737077       NAME:   Lixin He   DATE: May 11, 2021 PAGE 11     of 1


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        Attachment 3:

          Feedback form of physical check-up results of A Beijing Student
          Xicheng District(District or County) N0.8 Middle School(School) Second grade(Grade) .lfilClass) .(Name)Shanlin Jin

        Physical examination             Physical examination                   Evaluation                    Feedback
                items                           results                                                      suggestions

            Height Ccm)                            160.6cm                         Normal               Take more exercise
            Weight Ckg)                             38.5kg                         Normal
         Growth and nutrition                     in nutrition                   In nutrition           Please pay attention
                                                                                                         to the adjustment
          Vital Capacity( ml)                     1538ml                         Low-grade              Take more exercise
        Blood presure(mmHg)                     90/60mmHg                         Normal                  Please maintain
                Pulse rate                            86                           Normal                 Please maintain
            Cbeats/minute)
         Vision          Left                         4.2                       Poor vision              It is recommended
                          Right                       4.1                                               to see a doctor and
                                                                                                        get treatment under
                                                                                                          the guidance of a
                                                                                                                 doctor.
            Color vision                           Normal                          Normal                       Maintain
             Trachoma                                N                               N                          Maintain
            Conjunctivitis
             Oral cavity                 0 permanent movable                 Seek medical                    oral cavity
                                            teeth, 1 had been               advice and treat
                                           filled, and 0 caries                under the
                                                    lost                    supervision of a
                                         0 movable deciduous                    doctor
                                           teeth, 0 have been
                                            filled, and 0 have
                                                 been lost
               Heart                              Normal                        Normal                    Please maintain
               Lung                                   -                             -                     Please maintain
          Liver and spleen                     Not palpable                  Not palpable                 Please maintain
           Head and neck                          Normal                        Normal                    Please maintain
               Chest                      No abnormalities in              No abnormalities               Please maintain
                                            the thoracic cage               in the thoracic
                                                                                 cage
                 Spine                             Normal                       Normal                    Please maintain
            Lymphodermia                              ( 1)                            ( 1)                      Maintain
             HemoQlobin                             141G/L                         Normal                       Maintain
          Stool examination
          Liver function tests
           PPD experiment

         Physical examination      Primary and secondary school health care center of Xicheng District
               agency
         The evaluation results of nutritional status are based on ((The evaluation standard of height
        and weight in 1985)) , and other evaluations are based on (( The evaluation standard of BMI in
                                                      2005))




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        To:         WELLPATH                                   Fram:       Felipe Laureano

        Fax:        6158152769                                 p..,_:      3
        Re:          DC Summary                                Date:       2/18/2022 12:22:43 PM

                                                               Phana:      214-820-7978

                                                               Fax:        214-820-7979

        Comments:

        REF# 16270456




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                                                                            ~
                                                                           XSOLIS
VISIT SYNOPSIS
Created By: Felipe Laureano
   .6.2!124211d:SJ.t 5ilJUJ
  Name: JIN, SHAN LIN (M)                                   DOB: 06/29/1998                                            Patient Status: Inpatient
  Presentation Date and Time:                               Admission Date and Time:                                   Discharge Date and Time:
  02/08/2022 10:56                                          02/08/2022 11:02                                           02/17 /2022 15:52
 Primary Payer Name: COLLIN                                 Primary Member /Subscriber ID:                             Primary Payer Authorization
 COUNTY DETENTION CENTER                                    833033797                                                  Number: 16270456
 Secondary Payer Name: None
  Facility: BSW Medical Center -
                                                            Facility Tax ID: XX-XXXXXXX                                Facility NPI: 1124305065
  McKinney
 Attending Physician: PHAM, KHOI
  MAI




                                                                                    "
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                                                                   Page: 3/4 Date: 2/18/2022 12:24:36 PM

 Name: JIN, SHANLIN (M)               MRN: 17405356           Account Number: 67000331748                   Admission Date: 02/08/2022



Discharge Summary - Physician 02/17 /2022 12:49

 HOSPITAL DISCHARGE SUMMARY
 Patient Name: Shanlin Jin
 Patient MRN: 17405356
 Patient DOB: 6/29/1998
 Admit date: 2/8/2022
 Discharge Date: 2/17/2022
 Discharge Diagnoses
 Principal Problem (Resolved) :
   Tension pneumothorax, spontaneous
 Active Problems:
   Blurry vision, left eye
 Brief Reason for Hospitalization
 This is a 23 y.o. male who presented with SOB.
 # TENSION PNEUMOTHORAX
 -spontaneous, status post pleurodesis on 2/11 with cardiothoracic surgery Dr.
 cook
 -tube clamp today, discussed with Cardiothoracic surgery, want to monitor
 overnight
 2/17: repeat CXR stable, Dr cook ok to de and f/u in 2 wks. Pt is fit for
 confinement
 # LEFT EYE BLURRY VISION:
 -develop at 2/11 initially with left eye blurry vision has remained relatively
 stable per patient, will follow-up outpatient with Ophthalmology Dr. Khetpal
 once ready for discharge
 -MRI orbits and brain unremarkable
 -ultrasound carotids unremarkable
 -patient overall with no focal neurologic deficit
 -empiric aspirin and statin for now
 Hospital course
 As above
 consults
 Procedures
 Vital Signs
 BP 115/66     Pulse 89    Temp 97.8 •r (36.6 °C)    Resp 20   Ht 188 cm (74")
 Wt 64 kg (141 lb 1.5 OZ)     Sp02 95%    BMI 18.11 kg/m•
 Physical Exam
 constitutional: He appears well-developed and well-nourished.
 HENT:
 Head: Normocephalic and atraumatic.
 Eyes: Pupils are equal, round, and reactive to light. conjunctivae are normal.
 Neck: Normal range of motion and neck supple.
 cardiovascular: Normal rate, regular rhythm and normal heart sounds. Exam
 reveals no gallop and no friction rub.
 No murmur heard.
 Pulmonary/Chest: Effort normal and breath sounds normal. No respiratory
 distress. He has no wheezes.
 Abdominal: Soft. Bowel sounds are normal. He exhibits no distension. There is no
 abdominal tenderness.


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 Name: JIN, SHAN LIN (M)              MRN: 17405356           Account Number: 67000331748                   Admission Date: 02/08/2022


Musculoskeletal: Normal range of motion. No edema.
Neurological: He is alert and oriented to person, place, and time. No cranial
nerve deficit.
Skin: Skin is warm and dry.
Psychiatric: He has a normal mood and affect.
Discharge Condition
Fair
Discharge Diet
Diet Instructions
 Discharge Diet (Adult)
 Diet Type: Heart Healthy
Discharge Activity
 Patient Instructions
  Progress Mobility As Tolerated
Discharge Medications
Medication List
START taking these medications
aspirin 81 MG EC tablet
 Take l tablet (81 mq total) by mouth daily.
 start taking on: February 18, 2022
 atorvastatin 40 MG tablet
 commonly known as: LIPITOR
Take l tablet (40 mq total) by mouth nightly.
Where to Get Your Medications
Information about where to get these medications is not yet available
Ask your nurse or doctor about these medications
· aspirin 81 MG EC tablet
· atorvastatin 40 MG tablet
Signed &amp; Held Discharge Readmit Med orders (From admission, onward)
 None
Discharge Disposition
court/Law Enforcement
Follow Up
Khoi Mai Pham, DO
2/17/2022
12:49 PM
Discharge time greater than 32 minutes spent in co-ordinating care, reviewing
 care and discussing instructions with patient and arranging follow up.
 Patient advised on following up on pending results with PCP/ post hospital
 discharge clinic. Patient educated on the adverse effects of the medications and
 report to PCP if and when they happen.




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